     2:02-cr-00023-wks   Document 93    Filed 11/28/05   Page 1 of 3



                   UNITED STATES DISTRICT COURT
                              FOR THE
                        DISTRICT OF VERMONT

United States of America            :
                                    :
      v.                            :     File No. 2:95-CR-72
                                    :     File No. 2:02-CR-23
Stephen Brent Hutchins              :

           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                       (Papers 832 and 841) 1

      Defendant Stephen Brent Hutchins, proceeding pro se,

has filed a motion to vacate his sentence pursuant to 28

U.S.C. § 2255.      (Paper 832).        In his motion, filed on

September 21, 2005, Hutchins claims that the Court

impermissibly delegated authority to the Bureau of

Prisons to obtain fine payments.             Hutchins also argues

that the Court should re-sentence him and impose a

schedule of payments.

      On November 4, 2005, Hutchins moved to withdraw his

§ 2255 motion, claiming that he has “learned of

additional grounds upon which to base his motion for

sentence modification and has also discovered the form

with which to submit a proper 2255 motion.”                 (Paper 841).

Upon receiving Hutchins’ motion to withdraw, the Court

issued an order warning Hutchins of the possible



1
   In case number 2:02-CR-23, the corresponding filings are Papers 80 and
88, respectively.
    2:02-cr-00023-wks   Document 93   Filed 11/28/05   Page 2 of 3



consequences of withdrawing his § 2255 motion.                (Paper

843).   Specifically, the Court sought to ensure that

Hutchins was aware of both the one-year limitations

period and the restrictions on second or successive

motions set forth in § 2255.          The Court also required

Hutchins to confirm that, after reviewing the Court’s

order, he still wished to withdraw his § 2255 motion.

    Hutchins has now responded to the Court’s order,

stating that “I do wish to proceed with my motion to

withdraw and that I do fully recognize the potential

consequences of doing so, as outlined in your order.”                  In

light of Hutchins’ latest filing, I recommend that the

Court GRANT his motion to withdraw his § 2255 motion

(Paper 841), and that the § 2255 motion (Paper 832) be

DISMISSED without prejudice.

    Dated at Burlington, in the District of Vermont,

this 28 th day of November, 2005.


                            /s/ Jerome J. Niedermeier
                            Jerome J. Niedermeier
                            United States Magistrate Judge



Any party may object to this Report and Recommendation
within 10 days after service by filing with the clerk of
the court and serving on the magistrate judge and all

                                  2
    2:02-cr-00023-wks   Document 93   Filed 11/28/05   Page 3 of 3



parties, written objections which shall specifically
identify the portions of the proposed findings,
recommendations or report to which objection is made and
the basis for such objections. Failure to file
objections within the specified time waives the right to
appeal the District Court’s order. See Local Rules 72.1,
72.3, 73.1; 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b),
6(a) and 6(e).




                                  3
